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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


Michael Catinella                       )
                                        )
           Plaintiff,                   )
                                        )
                                        )
     v.                                 ) Case No. 15 C 1400
                                        )
                                        )
County   of      Cook,   Cook    County )
Department    of   Transportation   and )
Highways                                )
                                        )
           Defendants.                  )



                      MEMORANDUM OPINION AND ORDER

     This action arises out of plaintiff’s termination from his

employment as a machinist with the Cook County Department of

Transportation and Highways (“CCDOTH”).                  In his First Amended

Complaint   (“FAC”),     plaintiff    claims      that    his   termination    was

discriminatory     and    retaliatory,      and     that      it   violated   his

procedural and substantive due process rights.                  He seeks damages

and reinstatement pursuant to 42 U.S.C. § 1981 and § 1983.

     Defendants have moved to dismiss the FAC pursuant to Rule

12(b)(1) and 12(b)(6).        I      dismissed       plaintiff’s          original

complaint without prejudice under Rule 12(b)(6) and granted him

leave to amend after he acknowledged that his federal claims

“require[d]    further     clarification.”               As   explained     below,
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however, the additional material set forth in the FAC does not

clarify his claims.          Indeed, plaintiff’s scattershot account of

various       events   preceding     his    termination      does   not   raise     a

reasonable inference that defendants violated his constitutional

or    civil    rights.      Accordingly,        I   grant   defendants’   12(b)(6)

motion to dismiss.

                                           I.

       The FAC recounts the following facts, which I assume to be

true for purposes of this opinion. Plaintiff, a Caucasian man,

was hired as machinist for CCDOTH in January of 1994, and he

performed his duties to defendant’s satisfaction at all times.

Plaintiff was highly regarded by his peers and his supervisors.

Around 2009, plaintiff was promoted to a supervisory position.

He was not disciplined at any time prior to January 2013.                       FAC

¶¶ 10-15.

       In or around August of 2012, Cook County awarded a fuel

pump contract to a bidder.              After bidding had closed, a losing

bidder that had previously been awarded Cook County contracts

complained (the FAC does not say to whom) and attempted to make

a second bid after being informed of the winning bid amount.

Id. at ¶¶ 16-17.         The FAC provides no additional facts about the

fuel pump contract, the bidding process, or the losing bidder’s

complaint, nor does it indicate whether or how plaintiff was

involved in these matters.

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       On    approximately       August        15,     2012,       plaintiff       and    his

attorney met with the Office of the Inspector General (“OIIG”) 1

“regarding an investigation into bidding for fuel pumps with

CCDOTH.” Id. at ¶ 18.              During that meeting, OIIG investigators

“urged       Plaintiff     to    sign        two     documents         relating    to     the

investigation of the fuel pump bids,” but did not allow him to

consult with his attorney.                   Although the investigators warned

plaintiff that he could lose his job if he refused to sign the

documents, plaintiff refused to sign.                      Id. at 19-23.           The FAC

does not allege the nature of these documents.

       After     plaintiff      refused        to     sign       the    documents,       OIIG

investigators asked him if he had any weapons on him.                             Plaintiff

produced from his back pants pocket a small knife that he used

in    his    work    and    handed      it     over    to        his   attorney.         OIIG

investigators did not inspect or handle the knife and did not

notify the police that plaintiff was in possession of it.                                 Id.

at    ¶¶ 24-28.         Plaintiff     was     subject       to    no   further     inquiry,

complaint, investigation or discipline of any kind as a result

of    that     meeting.         Id.    at     ¶ 29.          Plaintiff       alleges,      on

information       and    belief,      that    he     did    not    receive    or    sign    a

warning of rights form at this interview.                        Id. at ¶ 69.




1
  I assume that this refers to the Cook County Office of the
Independent Inspector General.
                                              3
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        On or around January 24, 2013, five CCDOTH employees filed

a grievance complaining that plaintiff had been assigned to a

higher    rated       position    than      they,         “and    that   [plaintiff]      was

provided       with    an    automobile,        a     cell       phone   and     significant

overtime.”       Id. at ¶ 31.        The five grievants’ names appeared to

have been written in the same hand on the grievance form, and

only one of the grievants signed the form.                          Id. at ¶ 33-34.

        A little over a week later, on February 2, 2013, defendants

informed       plaintiff      that    he    was        being       placed   on    emergency

administrative leave with pay pending an investigation, and that

he would receive a letter about the investigation.                             Id. at ¶ 36.

Plaintiff received a letter on February 4, 2013, informing him

that he was being placed on emergency suspension as a result of

unspecified       allegations        that       he     had       violated   Section       8.03

(“major causes”) of the Cook County Personnel Rules.                                 Id. at

¶ 37.

       After    plaintiff      was   placed          on    emergency     suspension,      the

Cook    County    Sheriff’s       Police        Department          received     information

from     Investigator         Ruffolo      of        the     Cook     County     Bureau    of

Administration that plaintiff “may be a threat to shoot up the

workplace.”       Id. at ¶ 38.             On February 5, 2013, Investigator

Ruffolo    brought      four     witnesses       to       police     headquarters—Messrs.

Varnagis,      Crane,       Stiff,   and    Pijanowski—to             report     plaintiff’s

alleged threats to this effect.                      Two of the witnesses—Varnagis

                                             4
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and   Pijanowski—were           among    the       individuals         who    had    filed    the

grievance relating to plaintiff’s position and benefits several

weeks earlier.        Id. at ¶¶ 38-39.

      The     four        witnesses           gave        inconsistent         accounts        of

plaintiff’s        threats.       Some        of    the    statements         were    based    on

hearsay.      In     addition,          Varnagis          and        Pijanowski      were     not

physically present at District 3, where plaintiff worked, and

thus could not have witnessed the alleged threats.                                Finally, the

witness statements were inconsistent with the account of another

individual,        Gary   Roden,        who    “stated          he    had    never    seen    the

Plaintiff make any alleged threat at all relevant times.” 2                                   Id.

at ¶ 40.       Varnagis signed a complaint for disorderly conduct.

Id. at ¶ 41.

      Thereafter,         the    Cook    County       Sheriff’s          Police      Department

advised     plaintiff       of    the     investigation 3              and   the     disorderly

conduct     complaint      and    requested          that       plaintiff      “turn    himself

2
  It is not clear when or in what context Gary Roden gave his
account, as he is not among the witnesses alleged to have
accompanied Ruffolo to the police station, and the only other
reference to him in the FAC states that his name was printed on
the January 24, 2013, grievance form. FAC at ¶ 33.
3
  It appears from context that “the investigation” here refers to
law   enforcement’s   investigation   into  plaintiff’s   alleged
threats, but the reference is not entirely clear.     Indeed, the
FAC   and   plaintiff’s   response   brief  refer   to   multiple
investigations, including the OIIG’s investigation into fuel
pump bidding, defendants’ investigation into to the January 24,
2013, grievance, and the OIIG’s investigation into plaintiff’s
possession of a pocket knife, and plaintiff’s allegations and
arguments do not always make clear which investigation is at
issue.
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in.”    Id.    at      ¶ 42.     Plaintiff         self-surrendered             on    February       6,

2013, and he was arrested for disorderly conduct. He was advised

of his Miranda rights and refused to speak to investigators or

to sign any documents.                 Plaintiff was processed and released on

a $120 bond.           Id. at ¶¶ 42-45.

        On February 8, 2013, 4 the OIIG “issued a summary report...in

which     it     made       a   quasi-criminal           finding        that     the       Plaintiff

violated       Cook         County     Personnel         Rule     8.03(b)(5)           prohibiting

unauthorized possession of weapons.”                           Id. at ¶ 46.           The OIIG did

not    have    evidence         of    the     alleged         weapon,    and     it    issued       the

report without affording plaintiff notice and the opportunity to

be    heard.        Id.         The    report      also       stated     that    plaintiff          had

violated the Illinois Criminal Code, although it lacked “the

authority to make that decision” and did not provide plaintiff

“any type of due process.”                  Id. at ¶ 48.

        On February 22, 2013, CCDOTH notified plaintiff that a pre-

disciplinary           meeting        would    be      held      on     February        28,       2013.

Plaintiff        was    not      informed         that    he     could    have        an    attorney

present at that meeting and believed that he could not.                                       Id. at

¶¶ 53,     56.         On    February       25,    2013,       Pijanowski        met       with    OIIG

investigators           and     stated        that       he     had     “only        observed       Mr.

Catinella in possession of legal pocket knives.”                                Id. at ¶ 54.


4
  The FAC identifies the date as February 8, 2015, but I assume
this is a typographical error.
                                                   6
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      Plaintiff attended the February 28, 2013, pre-disciplinary

meeting, as did a member of the CCDOTH and a member of the OIIG.

Plaintiff refuted the charges against him, stating that the OIIG

investigation was “flawed and that he did not have an illegal

knife, let alone two illegal knives as alleged against him.”

Id. at ¶¶ 55, 57.           The FAC does not indicate what evidence, if

any, was presented to support the allegations against plaintiff.

It states, however, that OIIG investigators did not have any

physical evidence of the alleged knife or knives and were not

qualified to determine what kind of knife plaintiff had in his

possession.      Id.   at    ¶¶ 58-59.    Plaintiff     was   not    allowed       to

question OIIG investigators during the hearing. Id. at ¶ 61.

Plaintiff was never arrested, charged, or convicted for being in

possession of an illegal knife, and his disorderly conduct case

had not been adjudicated by the time of his pre-disciplinary

hearing. 5 Id. at ¶ 63-64.


5
  In recounting the factual narrative set forth in the FAC, I
have  at   times   reordered  its   allegations   to  reflect  my
understanding of how plaintiff views the various events it
describes as related and why he claims they are unlawful.      In
some instances, however, the allegations are difficult to
situate in the proper context.    For example, plaintiff asserts
in ¶ 65 that “[u]pon information and belief, the Plaintiff was
not allowed to confront any alleged complaining witnesses
regarding the alleged threats.” Based on where this allegation
appears in the complaint, the statement seems to refer to the
pre-disciplinary hearing about the knife.     Yet, the references
to “complaining witnesses” and “alleged threats” suggest that it
might instead relate to the workplace threats leading up to the
disorderly conduct charge.
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      Defendants         terminated     plaintiff’s        employment          on    March      5,

2013,    citing     the     “major      causes     of     ‘Fighting       or        Disruptive

Behavior’    and     ‘Unauthorized           Possession      of       Weapons’”       as       the

reasons for his termination, and relying on the OIIG’s February

8, 2013 OIIG report. Id. at ¶ 66, 67.                        Defendants also cited

plaintiff’s       alleged        workplace        threats        in    support        of       the

“Fighting or Disruptive Behavior” ground for his termination.

Defendants        further        identified           several         “non-major           cause

violations,” which plaintiff claims are subject to progressive

discipline and are not grounds for immediate termination under

the County of Cook Personnel Rules.                   Id. at ¶ 70.

        On March 7, 2013, the OIIG interviewed Darryl Stiff (one of

the     witnesses    who        had   accompanied         Ruffolo        to     the       police

department    to    report       plaintiff’s       alleged       threats)       and       Andrew

Chapman    (one     of    the    individuals       whose     name       appeared          on   the

January 24, 2013 grievance, but who was not involved in the

police    report)        about    the       alleged     threats.         Each        of    these

individuals        was      given       a     warning       of        rights        form       and

acknowledgment.          FAC at ¶¶ 73-73.          During his interview, Chapman

produced a three-inch spring knife that was used to cut hoses at

work.     The OIIG took pictures of Chapman’s knife and confiscated

it “until further research of governing statutes is conducted to

determine    lawful        possession        of   the    knife.”       Chapman        was      not

discharged for possessing the knife.                    Id. at ¶¶ 74-78.

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       Plaintiff grieved his termination on March 27, 2013.                                His

grievance        was     “summarily    denied      at    Steps    1     and     2    by    his

immediate supervisor and the CCDOTH” and was denied at Step 3

“by the hearing officer.” Id. at ¶¶ 80-82.                           Plaintiff asserts

that       the         hearing      officer’s        decision          “had         multiple

inconsistencies,” citing the conflicting testimony of witnesses

to    plaintiff’s        alleged    workplace      threats,      and     the    fact       that

“there     are    two     decisions    upholding        the    termination          that   are

signed but contain different formatting and information.” 6 Id. at

¶ 83.

       On October 4, 2013, the disorderly conduct charge against

plaintiff        was     dismissed     because       Varnagis,         the     complaining

witness, “refused to appear and testify since Plaintiff had been

terminated from his position.”               Id. at ¶¶ 84.

       The    FAC      culminates     in   four     separate,      but       substantially

overlapping,           counts.      Counts    I    and    II     are    both        captioned

“Violation of Plaintiff’s Procedural and Substantive Due Process

Rights” and assert § 1983 claims.                    In these counts, plaintiff

asserts      that       his   termination         violated     due      process       rights

enshrined in the Fifth and Fourteenth Amendments because he was

6
   Plaintiff also cites as an inconsistency in the hearing
officer’s decision that “the original workplace grievance of
January 24, 2013 was filed due to Plaintiff being given
preferential consideration for a temporary special assignment.”
The FAC does not explain the relevance of this allegation to the
hearing officer’s decision, however, nor does it explain the
putative inconsistency.
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not afforded a hearing, the opportunity to confront witnesses,

or progressive discipline.             Counts III and IV are both captioned

“Discrimination     Based    on    Retaliation.”             Count     III      asserts   a

violation of § 1981, stating that plaintiff’s termination was

“politically     motivated       and    in     retaliation       for      his    position

within the CCDOTH.”       Count IV is based on § 1983 and claims that

defendant’s termination was baseless, was effected without due

process, and violated his equal protection rights because of

defendants’     “disparate        treatment          to    employees       who     report

violations or assert lawful rights.”                      Plaintiff seeks damages,

reinstatement, and attorneys’ fees.

                                         II.

     Before    examining     a    few    of    the    specific    reasons         the   FAC

fails to state an actionable claim, I pause briefly to address

its overarching flaw, which is that a careful reading of its

allegations    produces      no    clear       understanding         of      plaintiff’s

theory of how the various events it describes add up to either a

cognizable    constitutional       claim       or    a     plausible      civil    rights

violation.     The salient portions of plaintiff’s narrative seem

to be: 1) plaintiff’s refusal to sign documents at the August

15, 2012, meeting about the fuel pump bidding; 2) plaintiff’s

production of a knife at that meeting; 3) a grievance filed by

five coworkers regarding plaintiff’s superior job position; 4)

plaintiff’s    placement     on     emergency         administrative         leave      and

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emergency      suspension;        5)    the    instigation          of    charges      against

plaintiff         for     disorderly          conduct;           and      6)     plaintiff’s

termination.           While the labels plaintiff affixes to his claims—

including “due process,” “equal protection,” and “retaliation”—

broadly identify possible legal theories, labels and conclusions

such as these do not suffice to withstand dismissal. Bell Atl.

Corp v. Twombly, 550 U.S. 544, 555 (2007).

       The pleading standards of Rule 8 are not exacting, but they

require plaintiffs, at a minimum, “to present a story that holds

together.”         Swanson v. Citibank, N.A., 614 F.3d 400, 404 (7th

Cir. 2010).            The FAC does not satisfy this lenient standard.

Plaintiff        evidently       believes          that    his     employer       retaliated

against     him    –    but     for   what?         For   failing        to    sign    whatever

documents        the    OIIG     presented         him    with    in     August       of   2012?

Without some indication of what those documents were, how they

related     to    plaintiff’s         employment,         or     how   signing        them   (or

refusing to sign them) amounted to protected conduct, we are

left    with      no    facts    or    context       from      which     a     plausible     due

process,       equal     protection,          or     civil       rights       claim    can    be

extracted. 7       As for the knife, the grievance, the investigation,


7
  Based on the scant facts the FAC provides, plaintiff’s claim,
if any, may be better suited to a theory of retaliatory
discharge under state law, or possibly of retaliation for the
exercise of his First Amendment rights.    See, e.g., Darchak v.
City of Chicago Bd. of Educ., 580 F.3d 622, 628 (7th Cir. 2009).
The FAC does not assert either type of claim, however.
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the     suspension,      and    the    disorderly        conduct        charge,    it    is

impossible to discern from the FAC’s account of these episodes

how      they     coalesce     into     a      claim     redressable        under        the

Constitution, § 1981 or § 1983.                  For this reason alone, the FAC

must be dismissed.

        But there is more.             Each of plaintiff’s specific claims

suffers      from     numerous    defects,        not       all   of     which    require

discussion.         I begin with his claim for procedural due process,

to which the Seventh Circuit takes a two-step approach.                                  The

first question is whether the plaintiff has been deprived of a

protected liberty or property interest, and second is whether

the deprivation occurred without due process.                          Pro’s Sports Bar

& Grill, Inc. v. City of Country Club Hills, 589 F.3d 865 (7th

Cir. 2009).       Plaintiff’s claim does not cross the first hurdle.

        Because     plaintiff    was    employed        in    Illinois,     I     look    to

Illinois law to determine whether he had a protectable property

interest in his employment.              Moss v. Martin, 473 F.3d 694, 700

(7th Cir. 2007).           “Under Illinois law, a person has a property

interest in his job only where he has a legitimate expectation

of     continued      employment       based      on    a    legitimate         claim    of

entitlement.”        Id.     A legitimate claim of entitlement, in turn,

“can arise from a statute, regulation, municipal ordinance, or

an express or implied contract.” Border v. City of Crystal Lake,

75 F.3d 270, 273 (7th Cir. 1996).                      Plaintiff does not allege

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that the property interest he asserts is rooted in any such

authority, nor does he claim that any state statute, common law

rule, or collective bargaining agreement constrained defendants’

ability to terminate his employment.                  Instead, plaintiff points

to     his   satisfactory       job    performance,      his     high    regard     among

colleagues and supervisors, his promotion, and the fact that he

“did not lose his job after being threatened by the OIIG” as

establishing       his    protected      property     interest.          He   cites    no

authority, however, holding that allegations of this sort state

a protected property interest.

        Plaintiff also cites his “understanding” that under “Cook

County policies and procedures...he could not be terminated from

his employment unless the steps were followed.”                           Resp. at 6.

This appears to be a reference to the FAC’s allegation that

certain of defendants’ asserted grounds for his termination were

“subject to progressive discipline pursuant to County of Cook

Personnel Rules.”          FAC at ¶ 71.          But none of plaintiff’s cited

authorities supports the view that this unadorned reference to

progressive       discipline      is    sufficient        to     state    a   protected

property interest in his job.

        Indeed,    in    four   of     plaintiff’s       cited    cases,      the   court

declined to find a protected property interest.                          See Covell v.

Menkis, 595 F. 3d 673, 675-676 (7th Cir. 2010) (state agency’s

administrative          rules   and     bylaws     did     not    create      protected

                                           13
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property     interest      in   agency     director’s       employment);          Moss   v.

Martin, 473 F.3d 694 (7th Cir. 2007) (Illinois Department of

Transportation’s Personnel Policy Manual did not give rise to

employee’s protected property interest); Khan v. Bland, 630 F.3d

519 (7th Cir. 2010) (landlord had no protected property interest

in future Section 8 Housing Assistance Payment contracts); and

Ruiz v. Kinsella, 770 F. Supp. 2d 936 (N.D. Ill. 2011) (home

buyers      had    no     protected       interest     in     City     of     Chicago’s

enforcement of building code).              The remaining two cases arose in

distinct      factual      contexts,       and   neither          remotely        supports

plaintiff’s       claim    to   a    protected       property      interest        in    his

employment.       See     Mathews    v.    Eldridge,        424    U.S.     319    (1976)

(recipient of social security benefits had protected interest in

continued receipt of benefits); Pro’s Sports Bar & Grill, Inc.

v. City of Country Club Hills, 589 F. 3d 865 (7th Cir. 2009)

(holder of unrestricted municipal liquor license had a protected

property interest in license to operate during the same hours as

all    license    holders).         Accordingly,      plaintiff       has    no     viable

procedural due process claim. 8



8
   Because plaintiff’s claim fails the first prong of the
procedural due process inquiry, I need not proceed to the
second.   I note, however, that even assuming plaintiff could
establish a protected property interest in his employment, his
allegations regarding the pre-discipline meeting at which he
“refuted” the allegations against him as well, as the three step
grievance process—which, by his own account, included a hearing—
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       Plaintiff’s substantive due process claim fares no better.

Because    “this      sort     of     claim        is    limited    to    violations      of

fundamental      rights,”       and      employment-related             rights    are    not

fundamental,       “an       alleged       wrongful        termination       of     public

employment is not actionable as a violation of substantive due

process unless the employee also alleges the defendants violated

some   other    constitutional           right      or    that    state   remedies      were

inadequate.”          Palka v. Shelton, 623 F.3d 447, 453 (7th Cir.

2010) (citing Belcher v. Norton, 497 F.3d 742, 753 (7th Cir.

2007).    Plaintiff      has       not    pled      an    additional      constitutional

violation,      nor    has    he     claimed       that    state-law      remedies      were

inadequate.

       Plaintiff      argues,       nevertheless,         that    his    substantive     due

process   claim       survives      defendants’          motion    because   he    alleges

conduct    by    defendants         that    “shocks        the     conscience,”     citing

Belcher, 497 F.3d at 753.                He points specifically to allegations

that defendants placed him on emergency leave as a result of a

stale grievance, 9 relied on inconsistent evidence to suspend him

for disorderly conduct, and enforced rules prohibiting knives at



blunt the force of his claim to have been terminated without
adequate process.
9
  Actually, the FAC does not assert that the investigation
prompting plaintiff’s administrative leave related to the
grievance.   In fact, one might guess from the reference to
“major causes” in the letter plaintiff received shortly after
being placed on emergency leave that the investigation related
to the knife incident.
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the   workplace      in    a   non-uniform        fashion.           Resp.    at    7.     But

neither Belcher nor any other case plaintiff identifies held

that allegations of this sort stated a substantive due process

claim.     To the contrary, the scope of such claims is extremely

narrow,    and     “[c]ases      abound    in     which       the    government       action—

though    thoroughly       disapproved      of—was        found       not    to    shock   the

conscience.”        Tun v. Whitticker, 398 F.3d 899, 902 (7th Cir.

2005) (citing as a “notable” example County of Sacramento v.

Lewis, 523 U.S. 833 (1998), which involved a high-speed chase in

which a patrol car skidded into a sixteen-year old motorcycle

passenger,       propelling       him     seventy       feet        down    the    road    and

inflicting       massive       injuries    that        led    to     his    death).        The

allegations in the FAC clearly do not describe conduct anywhere

near as egregious as the conduct alleged in County of Sacramento

(which     the     Supreme      Court     nevertheless          found       wanting),      and

plaintiff offers neither argument nor authority to support his

substantive due process claim on the facts asserted.

      I now turn to plaintiff’s claims for “discrimination based

on retaliation,” which do not require lengthy discussion.                                   As

noted     above,    no     clear    theory        of    either        discrimination        or

retaliation can be pieced together from the FAC’s narrative of

the     events     that    preceded       plaintiff’s          termination,          but    in

response     to     defendants’         motion,     plaintiff          argues      that    his

suspension        and     termination       were        the     result       of     “reverse

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retaliation.”        Resp.     at       8.      He     further     argues      that   Monell

liability     is   appropriate               because      the    FAC     articulates     an

“unconstitutional reverse discrimination based policy, practice

or custom.” Id. at 8-9.             But the FAC’s substantive allegations

do not support either argument.

      Plaintiff is correct that in CBOCS West, Inc. v. Humphries,

553 U.S. 442, 457 (2008), the Supreme Court held that § 1981

encompasses     claims    for       employment-related             retaliation.          The

Court acknowledged        that      a    right       of   action    exists      under   that

section for an individual “who suffers retaliation because he

has   tried   to   help    a     different           individual,        suffering     direct

racial discrimination, secure his § 1981 rights.” Id. at 452.

That holding, however, has no application to the present case.

The FAC does not allege the race of any individual other than

plaintiff,    much    less       does         it     assert     that     any    “different

individual” was subject to racial discrimination.                                For these

reasons alone, the FAC fails to state a viable retaliation claim

under § 1981.

      Additionally,       as        plaintiff             acknowledges,         Caucasians

claiming      reverse-discrimination                   must      allege        “background

circumstances      sufficient       to        demonstrate        that    the    particular

employer has reason or inclination to discriminate invidiously

against whites...or evidence that there is something fishy about

the facts at hand.” Hague v. Thompson Distribution Co., 436 F.3d

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816,     820   (7th    Cir.    2006)   (internal     quotations       and   citation

omitted).        The FAC is devoid of any allegations of this sort,

however,        fatally       undermining      any     claim     of     race-based

discrimination.         Finally, to the extent plaintiff’s § 1983 claim

is premised on some other, non-race-related protected activity

(e.g., “political” activity), the FAC’s allegations are far too

sparse and muddled to support any such claim.

        Because plaintiff’s § 1981 and § 1983 claims fail for the

reasons discussed above, I comment only briefly on plaintiff’s

additional failure to articulate a basis for municipal liability

under Monell v. Dep’t of Soc. Servs., 436 U.S. 658 (1978), which

is an independent reason for dismissing the latter.                         A Monell

claim requires plaintiff to allege: “(1) an express municipal

policy; (2) a widespread practice constituting custom or usage;

or (3) a constitutional injury caused or ratified by a person

with final policymaking authority.” Darchak, 580 F.3d 622 at

629.      Despite plaintiff’s conclusory assertion to the contrary,

the FAC plainly contains no allegations of this nature.

                                        III.

        For the foregoing reasons, defendants’ motion is granted. 10


10
   Mindful that federal courts have a duty to satisfy themselves
of their own jurisdiction, see Stearnes v. Baur’s Opera House,
Inc., 3 F.3d 1142, 1144 (7th Cir. 1993), I have considered
defendants’ additional argument that the FAC should be dismissed
for lack of subject matter jurisdiction, and I conclude that it
has no merit.    The gist of the argument is that plaintiff’s
                                          18
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                                     ENTER ORDER:




                                     _____________________________
                                            Elaine E. Bucklo
                                      United States District Judge

Dated: April 27, 2016




allegations, properly construed, state a claim, if at all, for
violation of his CBA, and that the Illinois Public Labor
Relations Board has exclusive jurisdiction over such claims.
But the FAC does not purport to advance such a claim, and
indeed, plaintiff’s response explicitly disavows it.  Resp. at
4.
                                       19
